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 1   BENJAMIN B. WAGNER
     United States Attorney
 2   JASON HITT
     JILL M. THOMAS
 3   Assistant U.S. Attorneys
     501 I Street, Suite 10-100
 4   Sacramento, California 95814
     Telephone: (916) 554-2751
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 7
 8                       IN THE UNITED STATES DISTRICT COURT
 9                    FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,        )   Case No. 2:08-cr-0449 WBS
                                      )
12             Plaintiff,             )        GOVERNMENT’S MOTION TO DISMISS
                                      )        COUNT THREE OF THE SUPERSEDING
13        v.                          )              INDICTMENT AGAINST
                                      )             DEFENDANT TIEN LE AND
14   TIEN THE LE,                     )               [PROPOSED] ORDER
                                      )
15             Defendant,             )             [FED. R. CRIM. P. 48(a)]
                                      )
16                                    )
                                      )
17
18        The United States of America, by and through its attorneys of
19   record, Assistant United States Attorneys Jason Hitt and Jill M.
20   Thomas, hereby moves for an order dismissing Count Three (only) of
21   the Superseding Indictment against defendant Tien LE pursuant to
22   Federal Rule of Criminal Procedure 48(a).        This motion is made in the
23   interests of justice because the government has developed evidence
24   suggesting certain elements of that crime cannot be proven beyond a
25   reasonable doubt.    This information has been provided to defense
26   counsel in the form of pretrial disclosure of a recent interview with
27   government witness Tony LE.     In that interview, Mr. Tony LE indicates
28   that defendant Tien LE may not have been aware of all aspects of the

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 1   criminal conduct that is the subject of Count Three in the
 2   Superseding Indictment.
 3        For these reasons, the undersigned respectfully requests that
 4   the Court enter an Order dismissing Count Three (only) of the
 5   Superseding Indictment against defendant Tien LE in Case No. 2:08-cr-
 6   0449 WBS in the interests of justice pursuant to Rule 48(a).          The
 7   United States intends to proceed to trial on Counts One and Two of
 8   the Superseding Indictment.
 9
10                                        Respectfully Submitted,
11                                        BENJAMIN B. WAGNER
                                          United States Attorney
12
13   DATED:   March 12, 2013          By:/s/Jason Hitt
                                         JASON HITT
14                                       Assistant U.S. Attorney
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 1                                       ORDER
 2        For the reasons set forth in the motion to dismiss filed by the
 3   United States, IT IS HEREBY ORDERED that:
 4        Count Three of the Superseding Indictment against defendant Tien
 5   LE in Case No. 2:08-cr-0449 WBS is hereby DISMISSED pursuant to
 6   Federal Rule of Criminal Procedure 48(a).
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 8   DATED: March 11, 2013
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